
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-2273

                                   JOEL W. SWENSON,

                                Plaintiff, Appellant,

                                          v.

                           SUNDAY RIVER SKIWAY CORPORATION,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. David M. Cohen, U.S. Magistrate Judge]
                                           _____________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Graydon G. Stevens, with whom Kelly,  Remmel &amp; Zimmerman, Gary  D.
            __________________            __________________________  ________
        McQuesten,   and  Valsangiacomo, DeTora  &amp;  McQuesten, P.C.,  were  on
        _________         _________________________________________
        briefs, for appellant.

            Elizabeth J. Wyman, with whom Evan  M. Hansen and Preti, Flaherty,
            __________________            _______________     ________________
        Beliveau &amp; Pachios, were on brief, for appellee.
        __________________

                                 ____________________
                                    March 19, 1996
                                 ____________________
                      LYNCH, Circuit  Judge.  Maine has  chosen to exempt
                      LYNCH, Circuit  Judge.
                             ______________


















            ski areas  from liability for actions  for injuries resulting

            from  risks "inherent" in skiing.  The statute, 26 M.R.S.A.  

            488 (West  1988), does, however, permit  actions for injuries

            actually caused by the  negligent operation or maintenance of

            the ski area.   The question presented is whether a skier who

            was injured when he fell negotiating moguls not  visible from

            a  "breakover"1 just above suffered  injury as a  result of a

            risk  inherent in skiing  or from the  negligent operation or

            maintenance of the ski area.  We hold that this case involves

            the inherent risks  of skiing,  thus is  within the  immunity

            Maine has chosen to  afford, and affirm the entry  of summary

            judgment for the Sunday River Skiway Corporation.

                      A skier  of more than 20 years  experience, Joel W.

            Swenson skied down expert trails at Sunday River on March 24,

            1993  before skiing  the  "3-D," an  intermediate trail.   He

            started down the upper portion of 3-D, traversing it at giant

            slalom  (GS) speed.  The  trail had been  groomed smooth that

                                
            ____________________

            1.  "Moguls"  are bumps in the  snow surface of  a ski trail.
            They are  created by skiers carving out their turns.  It is a
            common practice for ski  areas to leave all or  portions of a
            trail ungroomed so as to retain moguls.  A "breakover" is the
            convergence and changeover of two or more trails of differing
            slope.
                 Our definitions  are from the  district court's opinion.
            We   realize,  however,   that   with   changing  times   and
            vocabularies  (especially  in  the   increasingly  technology
            oriented world of downhill skiing), the meaning of words such
            as  "mogul"  may  change.   For  example,  The  Real  Skier's
                                                       __________________
            Dictionary  provides  (humorously)  the  following  "archaic"
            __________
            definition  of the  term  "moguls": "bumps  appearing on  the
            slope  before the days  of grooming machines."   Morten Lund,
                   _____________________________________
            The Real Skier's Dictionary (1983) (emphasis added).  
            ___________________________

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            far.   As he approached  the crest  of the  breakover at  the

            intersection of 3-D  and the Last Mile Trail,  Swenson slowed

            slightly.   What was  beyond the  breakover was  not visible.

            What was  beyond the breakover were moguls  across the entire

            width  of the trail.   Swenson, skiing too  fast to negotiate

            the moguls, fell and  was injured.  There is no  dispute that

            the moguls had formed on the trail naturally, as a result  of

            normal  skier traffic. There  is also no  dispute that Sunday

            River,  had it  so  desired, could  have  groomed the  entire

            length of the trail smooth.  However, Sunday River, which had

            designed  3-D,  as the  name implies,  to  be a  mogul trail,

            designedly decided to groom only the upper portion of 3-D and

            not to  remove the mogul field from the bottom portion of the

            trail. 

                      Because  the  appeal  is  from   entry  of  summary

            judgment,  our review is de  novo.  Commonwealth  of Mass. v.
                                     __  ____   ______________________

            Blackstone Valley  Elec.  Co., 67  F.3d  981, 985  (1st  Cir.
            _____________________________

            1995).    We  regard  the  record  and  draw  all  inferences

            favorably to Swenson.  Id.
                                   ___

                      The legislative policy behind the Maine Skiers' and

            Tramway Passengers' Responsibilities Act  is expressed in the

            language of the statute in effect at the relevant time: 

                      It is hereby recognized that skiing  as a
                      recreational   sport   and  the   use  of
                      passenger  tramways associated  therewith
                      may be hazardous to skiers or passengers,
                      regardless   of   all   feasible   safety
                      measures which can  be taken.  Therefore,


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                      each   skier   shall   have    the   sole
                      responsibility for knowing  the range  of
                      his own ability to negotiate any slope or
                      ski trail,  and it  shall be the  duty of
                      each skier to  conduct himself within the
                      limits  of his  own ability,  to maintain
                      control  of his  speed and course  at all
                      times  while skiing,  to heed  all posted
                      warnings and  to refrain from acting in a
                      manner which may  cause or contribute  to
                      the injury of himself  or others.  Except
                      as  otherwise  specifically  provided  in
                      this    subchapter,   each    skier   who
                      participates in the sport of skiing shall
                      be deemed to have assumed the risk of the
                      dangers inherent in the sport and assumed
                      the legal responsibility  for any  injury
                      to his person or  property arising out of
                      his participation in the sport of skiing,
                      unless the  injury or death  was actually
                      caused  by  the  negligent  operation  or
                      maintenance of the  ski area  by the  ski
                      area operator, its  agents or  employees.
                      Except  as provided in  this section, the
                      responsibility  for   collisions  by  any
                      skier  while  actually  skiing, with  any
                      person or object, shall be solely that of
                      the  skier  or skiers  involved  in [the]
                      collision and not  that of  the ski  area
                      operator.  This section shall not prevent
                      the  maintenance of  an action  against a
                      ski  area  operator  for   the  negligent
                      design,   construction,    operation   or
                      maintenance of a tramway.

            26 M.R.S.A.   488 (West 1988).

                      Against this  framework, Swenson makes  two claims.

            He says that Sunday  River negligently maintained and groomed

            3-D in such a manner as  to create a mogul field  immediately

            below  a  breakover  where  it  was  not  visible  to  skiers

            approaching it from above at expected and appropriate speeds.

            He also argues  that Sunday River negligently failed  to mark

            or warn of this hazard.


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                      Recognizing  that  negligent design  of a  trail is

            immunized  from liability under  the statute2  as interpreted

            by  this court in Finnern  v. Sunday River  Skiway Corp., 984
                              _______     __________________________

            F.2d  530, 534 (1st Cir.  1993), the parties  have framed the

            issue as  whether the  presence of  an ungroomed  mogul field

            below  a  blind breakover  gives rise  to  a design  issue as

            opposed to an  issue of  operation or maintenance.   To  some

            extent, on particular facts, the answer to  whether a feature

            of a  ski trail is a  design feature or one  of operation and

            maintenance may  be a  matter of  degree.   But  we think  it

            sufficiently clear in  this case that deciding to  retain and

            not  groom away moguls on a  trail was a design decision that

            Swenson's claim is precluded as a matter of law.

                      Swenson  argues that  the term  "design" should  be

            restricted to those aspects of a trail which are immutable or

            permanent, such as degree of curvature or incline.  He argues

            that  there was  nothing  natural, inseparable  or  necessary

            about the  moguls being  just below  the  breakover and  thus

            their  presence  there was  not an  inherent risk  of skiing.

            While the sudden  appearance of  moguls on a  trail might  be

            natural,  Swenson  argues  that these  moguls  resulted  from

            Sunday  River's  decision not  to groom  and  that this  is a

            legally viable distinction.   The very fact  that some choice

                                
            ____________________

            2.  The  statute  expressly  permits  suits  arising  out  of
            negligent design of a tramway  but not of a ski trail.   This
            suit does not involve a tramway accident.

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            was made, he says, entitles him to  get to a jury.  We  think

            that the  argument misperceives the legislative  intent.  The

            trail on  which he  was injured  was designed  to be  a mogul

            trail  and  the location  of  the moguls,  even  if shifting,

            cannot be separated  from the design decision  made by Sunday

            River.  Moguls are inherently risky for skiers -- that may be

            precisely why skiers are  lured by mogul trails.   Moguls are

            an  inseparable  characteristic  of  the  3-D  trail  and  an

            inherent risk of skiing.  Cf. Knight v. Jewett, 11 Cal. Rptr.
                                      ___ ______    ______

            2d 2,  14 (Cal. 1992) (in  banc) (risk posed by  moguls is an

            inseparable  part of the sport);  O'Donoghue v. Bear Mountain
                                              __________    _____________

            Ski Resort,  35 Cal. Rptr.  2d 467, 469 (Cal.  Ct. App. 1994)
            __________

            (same).

                      Swenson's argument that Sunday  River had a duty to

            warn of the  existence of  moguls below a  breakover must  be

            weighed in light of the statute's express admonition that "it

            [is] the duty  of each  skier to conduct  himself within  the

            limits  of his  own  ability,  to  maintain  control  of  his

            speed . . . at  all times while skiing  . . .  and to refrain

            from acting in a manner which may cause  or contribute to the

            injury  of himself or others." 26 M.R.S.A.   488 (West 1988).

            The  convergence of two trails at a breakover with no forward

            visibility  requires  a skier  to  adjust  his or  her  speed

            appropriately.   While  skiing  at GS  speeds  on the  upper,

            mogul-free  portion  of  the  trail, where  there  was  clear



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            visibility, may have been  appropriate, it is undisputed that

            the  speed at  which Swenson  skied  below the  breakover was

            inappropriate.    There was,  at the  very  least, a  risk of

            another skier on the other side of the breakover, a risk this

            court described  as "inherent" in  Finnern, 984 F.2d  at 537.
                                               _______

            If  Swenson could  be presumed  by law  to have  assumed that

            risk,  there seems  no principled  basis for  saying  that he

            could not be  presumed to  have assumed the  risk that  other

            unextraordinary unseen hazards in  the nature of moguls might

            be present beyond the crest.

                      Swenson's  own expert  testified that  Swenson's GS

            speed  and style  made it  impossible for  him to  handle the

            mogul field  he encountered  and  that even  an expert  skier

            could not  have negotiated  the mogul  field at  Swenson's GS

            speed.   Swenson testified that had he been skiing slower, he

            could  have  handled  the  moguls.    The  breakover  itself,

            combined with the lack of  visibility, put Swenson on  notice

            that there might be  moguls (or other comparable hazards)  --

            the presence of which clearly are inherent risks of skiing --

            just  below.   The breakover  provided  a natural  warning of

            risks  below that  required  Swenson to  slow.   The  statute

            placed the responsibility of  guarding against those risks on

            Swenson.  Under the circumstances, there was no duty to warn.



             



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                      Affirmed.
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